   Case: 1:21-cv-06546 Document #: 70 Filed: 11/08/22 Page 1 of 14 PageID #:825




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 THE BOARD OF TRUSTEES OF THE
 UNIVERSITY OF ILLINOIS,                            Case No. 1:21-cv-06546

                     Plaintiff /                    The Honorable John R. Blakey
                     Counterclaim-Defendant,

        v.

 VINTAGE BRAND, LLC,

                      Defendant /
                      Counterclaim-Plaintiff.


DEFENDANT VINTAGE BRAND, LLC’S RULE 56.1 STATEMENT OF UNDISPUTED
                       MATERIAL FACTS

       Defendant Vintage Brand, LLC (“Vintage Brand”) hereby submits the following

Statement of Undisputed Material Facts pursuant to Northern District of Illinois Rule 56.1(a) in

support of its Motion for Partial Summary Judgment on abandonment of the University of

Illinois’ “Chief” Logo.




                                                i
      Case: 1:21-cv-06546 Document #: 70 Filed: 11/08/22 Page 2 of 14 PageID #:826




                                 NCAA Pressure on the University

        1.      Beginning in 2005, the National Collegiate Athletic Association (“NCAA”)

adopted a policy “prohibit[ing] NCAA colleges and universities from displaying hostile and

abusive racial/ethnic/national origin mascots, nicknames or imagery” at the NCAA

championships. (Appx. Ex. 1 at 2.)

        2.      The NCAA identified the University as one of 18 universities displaying

prohibited Native American imagery. (Id. at 3.)

        3.      The University appealed the NCAA’s decision, and the NCAA denied the appeal,

thereby preventing the University from “host[ing] NCAA championship events.” (Appx. Ex. 2 at

2.)

        4.      The University’s men’s tennis team was consequently prohibited from hosting the

first round of the 2006 NCAA championships. (Appx. Ex. 3 at 2–4.)

                      The University’s Public Retirement of Chief Illiniwek

        5.      In a meeting on March 13, 2007, the University approved the following resolution

regarding “conclu[ding]” the “use of” the Chief Illiniwek design:

         Therefore, Be It Resolved:
          ....
         That the Board hereby directs the immediate conclusion to the use of Native
         American imagery as the symbol of the University of Illinois and its
         intercollegiate athletics along with the related regalia, logo, and the names “Chief
         Illiniwek” and “Chief,” and the Board hereby directs the Chancellor of the
         Urbana-Champaign campus to manage the final disposition of these matters and
         report the decisions back to the Board and in so doing to remain in compliance
         with the NCAA policy.

(Appx. Ex. 4 at 8 (emphasis in original).)

         6.     In an announcement issued by the University and its licensee the Collegiate

Licensing Company (“CLC”) following this directive, on March 30, 2007, the school provided

the following to “All University of Illinois at Urbana-Champaign Licensees”:



                                                  1
    Case: 1:21-cv-06546 Document #: 70 Filed: 11/08/22 Page 3 of 14 PageID #:827




       The Board of Trustees of the University of Illinois at Urbana-Champaign has
       recently made a decision to . . . eliminate or impose strict limitations on the use of
       Native American imagery as the symbol for the University of Illinois.

       Pursuant to the restricted program, CLC and the University will put retailers on
       notice that they may not order any additional merchandise featuring the Chief
       logo, or products featuring the terms “Chief” or “Chief Illiniwek” after Monday,
       April 16, 2007. Licensees are permitted to book orders for this merchandise up
       until April 16, 2007 at which point the 60-day merchandise depletion clause will
       begin in your CLC license agreement for the University.

       . . . . Please note that no wholesale merchandise will be approved for sale or
       distribution beyond December 31, 2007, regardless of when it was ordered.

       ....

       The University plans to maintain its trademark ownership rights in the Chief logo
       to support the logo’s heritage in the University’s history, and reserves the right to
       take necessary and appropriate action to accomplish this. Further, the University
       will continue to vigorously enforce against unauthorized use of the Chief logo or
       terms ‘Chief Illiniwek’ or ‘Chief’ now and in the future.

(Appx. Ex. 5 (ILL_VNTG_0012074).)

       7.       The University’s discontinuation of Chief Illiniwek as a symbol and its cessation

of use of any related imagery, including the Chief Illiniwek design, was and is well-recognized

by the public. (Appx. Ex. 6 at 2 (reporting on the resolution and stating “It’s official: Chief

Illiniwek, the symbol of the athletic teams at the Urbana campus since 1926, will be retired”).)

       8.      Documented statements by University officials publicized the University’s intent

to permanently discontinue use of the Chief Illiniwek design:

            a. Appx. Ex. 7 at 2–3 (citing an announcement regarding the retirement of the Chief

               Illiniwek design by the then-chair of the University’s Board of Trustees,

               Lawrence C. Eppley);

            b. Appx. Ex. 8 at 3–4 (“Eppley’s announcement of the decision to retire the symbol

               immediately made the UI eligible to host postseason events, but its continued

               removal from the sanction list would be provisional upon its not using the name



                                                  2
   Case: 1:21-cv-06546 Document #: 70 Filed: 11/08/22 Page 4 of 14 PageID #:828




                Chief Illiniwek and the related Native American imagery, the NCAA said in a

                Feb. 15 letter.” (emphasis added));

             c. Appx. Ex. 9 at 2 (quoting the University’s then-Chancellor Phyllis Wise: “The

                symbol of Chief Illiniwek has been part of our past . . . but it is not coming

                back”);

             d. Appx. Ex. 10 at 2 (quoting the University Chancellor Robert Jones: “We’re

                saying very clearly that Chief Illiniwek is not coming back”);

             e. Appx. Ex. 11 at 3 (quoting University spokesman Tom Hardy: “There’s a

                recognition by trustees that the Chief tradition has ended; we’re not going back

                there”);

             f. Appx. Ex. 12 at 9 (University Chancellor Robert Jones’ statements: “I’ve been

                working five years of my life to try and move us beyond the 89-year legacy of

                Chief Illiniwek”; and “I can tell you Native imagery and the way it’s been

                perpetuated at this university is antithetical to our goals, our visions and what we

                think is fundamentally right”);

             g. Appx. Ex. 13 at 5 (Chancellor Jones statement: “We’ve been very, very clear that

                those kinds of images [e.g., Chief Illiniwek] are not part of this university,” and

                “it’s time for us to move on from this[.]”).

       9.       The University publicly announced a Commission on Native Imagery with the

goal of “healing” and “establishing new traditions,” which convened in 2018. (Appx. Ex. 13 at 4;

Appx. Ex. 14 at 1–2.).

       10.      The current “brand identity” of the University does not include the Chief Logo.

(Appx. Ex. 15 (ILL-VNTG_0000360–87) (brand identity guidelines not referencing the Chief




                                                  3
    Case: 1:21-cv-06546 Document #: 70 Filed: 11/08/22 Page 5 of 14 PageID #:829




Logo).)

        11.    The University’s current “primary identity” is the orange “‘I’ Logo” and

“secondary identity” is the “Victory Badge.” (Id.)

                Vintage Brand Website Disclaimers Regarding the University

        12.    Vintage Brand operates an online retail store through which it offers customers

apparel, wall art, coasters, and other blank merchandise that can be customized with historic

artistic images reproduced from vintage sports memorabilia. (Declaration of Chad Hartvigson

¶ 2.)

        13.    Vintage Brand acquired historic, public domain University memorabilia from

collectors, including decals, matchbooks and buttons, and offered digitalized images drawn from

those objects for decorative printing on apparel and other goods. (Id. ¶ 3.)

        14.    On Vintage Brand website pages where the Chief Logo appears, Vintage Brand

provides the following background:

        Chief Illiniwek was the symbol of the University of Illinois, from October 30,
        1926 to February 21, 2007. Chief Illiniwek was portrayed by a student to
        represent the Illiniwek, the state’s namesake, although the regalia worn was from
        the Sioux. The University of Illinois retired Chief Illiniwek in 2007[.]

(Appx. Ex. 16 at VINTAGE_ILLINOIS_000120 (emphasis added).)

        15.    There are three distinct, prominent disclaimers on Vintage Brand’s website

regarding Vintage Brand and the University: (1) “Vintage Brand[ ] [is] not affiliated with or

sponsored by Illinois Fighting Illini”; (2) “Vintage Brand® and its products are not affiliated

with, licensed, sponsored, or endorsed by any college, university, professional team, league,

event or licensing entity”; (3) “Our products are not affiliated with, licensed, sponsored, or

endorsed by any college, team, league, event or licensing entity.” (Id. at

VINTAGE_ILLINOIS_000120–21.)




                                                 4
       Case: 1:21-cv-06546 Document #: 70 Filed: 11/08/22 Page 6 of 14 PageID #:830




                          University Files Lawsuit Against Vintage Brand

         16.    The University initiated this lawsuit on December 7, 2021, bringing claims

against Vintage Brand for, among other things, infringement of the Chief Logo. (ECF 1, 25, 35,

65.)

         17.    Vintage Brand answered the University’s complaint and brought counterclaims of

its own, including for cancellation of the Chief Logo registration, No. 2,232,024, based on

Vintage Brand’s sincere belief that the University abandoned this mark in 2007. (ECF 46 at 46,

52 at 46.)

         18.    The University denied those claims, stating that it only “ceased use of the ‘Chief

Illiniwek’ character at University athletic competitions, where the ‘Chief Illiniwek’ character’

herein refers to a natural person being dressed in a particular type of outfit performing at

University athletic competitions.” (ECF 56 at 6–7.)

         19.    The University denied the remaining allegations regarding its abandonment of the

use of the Chief Logo as a mark. (Id. at 7–8.)

                       The University’s Trademark Maintenance Program

         20.    Since fact discovery has commenced, the University has produced records

regarding a licensing program for the Chief Logo that was initiated after the Board’s March 13,

2007 resolution. (Declaration of Theresa Wang ¶ 2.)

         21.    The University and CLC released the following FAQs to the University’s “[m]ore

than 400” licensees, accompanying a CLC memo issued on March 30, 2007:

         Q:     Why are you restricting the production of Chief merchandise?

         A:      The University of Illinois Board of Trustees issued a directive to
         discontinue use of “the use of Native American imagery as the symbol of the
         University of Illinois and its intercollegiate athletics along with related regalia,
         logo, and the names Chief Illiniwek and Chief.”
         ....



                                                    5
    Case: 1:21-cv-06546 Document #: 70 Filed: 11/08/22 Page 7 of 14 PageID #:831




       Q:      What will happen to the logo?

       A:      The campus is evaluating options that allow us to maintain trademark
       rights to the logo while implementing the Board’s directive to “end the use of
       Native American imagery as the symbol of the University of Illinois.” Premature
       abandonment of trademarks effectively places them in the public domain and
       removes the control a university has to regulate their use. This has, in some
       instances, resulted in use of the abandoned marks by third parties who produce
       and sell products bearing the marks, while leaving the university/owner without
       legal recourse. Our best course in meeting the Board’s directive is to maintain
       trademark rights to the logo, rather than abandon it.

       Q:      What’s your process for deciding what to do with the logo?

       A:      We are discussing options with a range of constituents for final
       disposition of the logo and word marks, as well as Chief symbols and regalia. To
       protect our trademark rights to the logo and wordmarks, we will work within the
       confines of trademark law.

(Appx. Ex. 18 (ILL-VNTG_0012073, 0000729–30).)

       22.     The University and the CLC created a “special licensing program under the

College Vault umbrella for the verbiage ‘Chief,’ ‘Chief Illiniwek,’ and the Chief Illiniwek logo

[to] enable CLC to track Chief Illiniwek royalties separately from Illinois’ standard royalties.”

(Appx. Ex. 17 at ILL-VNTG_0000722.)

       23.     As of December 10, 2018, there were around eight vendors licensed under this

special program, compared to the “[m]ore than 400” licensees referenced in the University and

CLC’s March 30, 2007 FAQs. (Appx. Ex. 18 at ILL-VNTG_0000730 (referring to the

University has having “[m]ore than 400” licensees); Appx. Ex. 19 (ILL-VNTG_0008224)

(evidencing that in 2018 there were only around 8 licensed vendors).)

       24.     As of February 14, 2019, the University had only “a few national licensees” and

told a license applicant that the University was “not adding additional vendors,” and if the

vendor were “mainly just interested in producing Chief merchandise that will not be approved.”

(Appx. Ex. 20 at ILL-VNTG_0008218.)




                                                 6
    Case: 1:21-cv-06546 Document #: 70 Filed: 11/08/22 Page 8 of 14 PageID #:832




       25.     This special licensing program includes “guidelines” for licensees, which includes

prohibiting any sales in brick and mortar stores. (Appx. Ex. 17 at ILL-VNTG_0000722

(“Licensees will only be authorized to sell Chief Illiniwek merchandise to retailers to sell

through online stores.”); see also Appx. Ex. 21 (ILL-VNTG_0012077) (stating that “part of the

requirement” for participating in the limited licensing program “is that the product must only be

sold online.”); Appx. Ex. 22 at ILL-VNTG_0012100 (directing licensee’s removal of any in-

store merchandise displaying the Chief Logo); Appx. Ex. 23 at ILL-VNTG_0012080 (explaining

that the program allows licensees “to sell their merchandise online” only)).

       26.     A University representative shared the following rationale for this prohibition:

“by only being online it allows everybody to have access to the merchandise but also restricts the

products from being sold in the campus community.” (Appx. Ex. 21 (ILL-VNTG_0012077).)

       27.     A University representative acknowledged that online sales only might be

difficult for its licensees to implement, but they noted that the Chief Logo is “just a REALLY

sensitive topic with our University, and it’s very complex with a lot of history around the Chief

Illiniwek logo and Native American imagery.” (Appx. Ex. 24 at ILL-VNTG_0012078.)

       28.     The University rejected an idea proposed by the on-campus bookstore to install a

computer kiosk to assist with ordering Chief Logo merchandise online, citing fear of “more

drastic negative implications” if the kiosk were allowed. (Appx. Ex. 25 (ILL-VNTG_0012082).)

       29.     Noting that some people on campus would “prefer that the Chief product isn’t

promoted at all,” the University confirmed that installation of a dedicated computer for these

sales would “probably [be] crossing the line.” (Id.)

       30.     The University does not license any local companies to print the Chief Logo, and

it does not allow students or groups affiliated with the school to display the mark either. (Appx.




                                                 7
    Case: 1:21-cv-06546 Document #: 70 Filed: 11/08/22 Page 9 of 14 PageID #:833




Ex. 26 (ILL-VNTG_0012095).)

        31.     The University polices the physical presence of goods bearing the Chief Logo.

Appx. Ex. 22 at ILL-VNTG_0012100 (directing licensee’s removal of any in-store merchandise

displaying the Chief Logo); Appx. Ex. 27 (ILL-VNTG_0012071, 0000653–54) (asking CLC to

address a licensee’s sale of Chief Logo merchandise in-store and “make sure that this doesn’t

happen again”); Appx. Ex. 28 at ILL-VNTG_0012096 (asking CLC to address a licensee’s sale

of Chief Logo merchandise and “remind them that should this happen often, it could be a reason

for us to cancel” the license).)

        32.     The University swiftly responds when there is notice of any physical presence of

goods bearing the Chief Logo in any brick and mortar stores. (Appx. Ex. 28 at ILL-

VNTG_0012096 (email reflecting follow-up the day after being notified about in-store Chief

Logo merchandise).)

        33.     The University “only issue[s] Chief licenses to groups that hold the retailers

accountable for selling Chief merchandise online only.” (Appx. Ex. 22 at ILL-VNTG_0012100.)

        34.     The University considers it a “serious issue” when goods bearing the Chief Logo

are sold in-store. (Appx. Ex. 27 at ILL-VNTG_0012071.)

        35.     Nike, a University licensee, inquired of the University whether it had “answers to

why” the University had “moved away” from Chief Illini because as “we continue to move away

from Chief Illini, I wanted to make sure all the ts were crossed and Is were dotted.” (Appx. Ex.

29 at ILL-VNTG_0012098.)

        36.     The University responded: “We don’t really plan to touch this issue at all. We

haven’t used the Chief logo since 2007 except for the College Vault licensing program . . .” (Id.)

        37.     The University, in describing to a licensee the purpose of requiring online sales




                                                 8
   Case: 1:21-cv-06546 Document #: 70 Filed: 11/08/22 Page 10 of 14 PageID #:834




only, explained that:

       The policy since the beginning [in 2007] was put in place so that it is in
       compliance with NCAA rules that prohibits universities from associating with
       Native American imagery with their varsity teams. There’s a lot of background
       and history, but essentially by only being online it allows everybody to have
       access to the merchandise but also restricts the products from being sold in the
       campus community. In addition, we really only approve limited product
       categories[.]

(Appx. Ex. 21 (ILL-VNTG_0012077).)

       38.      The University prohibits the sale of apparel bearing the Chief Logo on its official

online stores such as < Fightingillini.com >. (Appx. Ex. 30 (ILL-VNTG_0000791–92).)

       39.      The University directed a licensee not to promote a page with “Chief references

and gear . . . on the school site [Fightingillini.com],” but stated that “Fanatics.com can sell Chief

items.” (Appx. Ex. 31 (ILL-VNTG_0012091).)

       40.      The University directed that “Chief related” products be left off a holiday-themed

promotion with one of its licensees. (Appx. Ex. 32 at ILL-VNTG_0012084–85.)

       41.      A University licensee announced on Facebook: “Chief stuff can be ready in as

little as 5 minutes [for pickup after an order is placed]. We just aren’t allowed to let you purchase

in the store. The inventory is in the store already.” (Appx. Ex. 33 (ILL-VNTG_0012083,

0002013–15).)

                         Minimal University Sales of Chief Logo Goods

       42.      In response to an email from a University community member reporting the sale

of Chief Logo merchandise, and his concern that the University “end the use of a racist

caricature as a symbol of our institution,” the University summarized that the “amount of Chief

items produced is actually down”:

       Here is some year-to-date information regarding overall Chief merchandise sales as
       compared to total sales of licensed products. Note that the amount of Chief items
       produced is actually down slightly from a year ago.



                                                  9
   Case: 1:21-cv-06546 Document #: 70 Filed: 11/08/22 Page 11 of 14 PageID #:835




        July 2016 – April 2017 3,621 Chief units produced (out of 815,000 total) $7,100
       royalties from Chief items out of $1.1 million
       July 2015 – April 2016 3,947 Chief units produced (out of 1,000,000 total) $7,900
       royalties from Chief items out of $1.5 million

(Appx. Ex. 34 (ILL-VNTG_0012075–76).)

       43.      A royalty summary for apparel and items decorated with the Chief Logo show

that the total licensing revenue for this mark has historically been between 0.002%–0.6% from

2008–2017, ranging from $39 to $9,300 annually, compared to $1.2–2.1 million for the rest of

the University’s licensing activities. (Appx. Ex. 35 (ILL-VNTG_0012092–94, 0009174).)

       44.      In one email to a news outlet, the University reported that from 2009–2012, gross

royalties generated on Chief Logo-emblazoned apparel totaled between $1,670–$6,039. (Appx.

Ex. 36 at ILL-VNTG_0007062.)

       45.      In that same email chain, the University reported that from 2009–2012, gross

licensing royalties were approximately $1.9 million to $2.1. (Id.)

                  Lack of Public Awareness Regarding Chief Logo Licensing

       46.      The University’s campus community is generally unaware that it still licenses the

mark, and campus community members have criticized the University upon discovering Chief

Logo merchandise, as demonstrated by the following examples:

             a. Amanda Teresa Rodriguez emailed the “Native American House” at the

                University and reported American Eagle’s sale of Chief Logo merchandise, which

                she described in the following way: “Not only is the content discriminatory, I am

                almost certain that it is not legal.” (Appx. Ex. 37 (ILL-VNTG_0000656));

             b. Ms. Rodriguez was a University student. (Appx. Ex. 38 at 54 (reflecting that




                                                10
     Case: 1:21-cv-06546 Document #: 70 Filed: 11/08/22 Page 12 of 14 PageID #:836




                 Ms. Rodriguez graduated in 2019));1

             c. Chad Kahl emailed “Identity Standards” at the University and reported

                 Rivals.com’s sale of Chief Logo merchandise, and stated he was “pretty sure that

                 Chief merchandise is no longer allowed.” (Appx. Ex. 23 at ILL-

                 VNTG_0012081);

             d. When Mr. Kahl learned about the continued licensing of the Chief Logo, he

                 asked, “How is the Chief Illiniwek College Vault Program not a way to

                 circumvent the retirement of the Chief?” (Id. at ILL-VNTG_0012080);

             e. Mr. Kahl is an Associate Dean at the University’s Milner Library and a former

                 student of the University. (Appx. Ex. 39 at 2);

             f. University alumnus Jeff Lale emailed “Public Affairs” at the University and

                 reported Fanatics’ selling of Chief Logo merchandise, and stated, “From what I

                 understood, the University doesn’t allow the use of this trademark on shirts, etc,

                 so I was very surprised / upset to see such a legitimate store selling one.” (Appx.

                 Ex. 40 (ILL-VNTG_0012087–88));

             g. A community member provided customer feedback to a University licensee that

                 “[f]or the University of Illinois apparel – we have stopped using the logo of the

                 ‘Chief’ which you have on many of your products. It has been banned from the

                 NCAA due to its racist and harmful nature . . . . It is a harmful image to many

                 students on my campus.” (Appx. Ex. 41 at ILL-VNTG_0012090 (emphasis

                 added));


1
    The URL where this PDF was obtained is https://commencement.illinois.edu/wp-
    content/themes/illinois-commencement/assets/documents/commencement-program-2020.pdf. The PDF
    was downloaded on 10/26/2022.




                                                  11
   Case: 1:21-cv-06546 Document #: 70 Filed: 11/08/22 Page 13 of 14 PageID #:837




            h. University employee Lori Davis emailed “licensing” at the University to report

               that “I ran across these tee shirts . . . thought I’d forward to you since my

               understanding is that companies can’t use the Chief symbol (unless you give

               permission which I hope you don’t!”)). (Appx. Ex. 42 (ILL-VNTG_0008311));

            i. University professor Gabriel Solis emailed the Illinois Chancellor to “bring the

               usage of Chief Illiniwek branding for commercial purposes to your attention,”

               noting that “these images were deemed ‘hostile and abusive’ by the NCAA, and

               were retired by the university some time ago.” (Appx. Ex. 34 at ILL-

               VNTG_0012075.)

       47. In response to criticism from campus community members (see above), the

University refers to the limited nature of the licensing, as demonstrated by the following

examples:

            a. The University states that the College Vault licensing program is “for several

               trademarks that are no longer current representations of our institution, but are

               part of its history.” (Appx. Ex. 23 at ILL-VNTG_0012080);

            b. The University states that the College Vault licensing program is “only open to a

               limited number of national licensees and merchandise may only be sold online.”

               (Appx. Ex. 40 at ILL-VNTG_0012087);

            c. The University states “the amount of Chief items produced is actually down

               slightly from a year ago” and compares the Chief item royalty numbers to the

               much larger total sales of licensed products. (Appx. Ex. 34 at ILL-VNTG_12075.)

       //

       //




                                                 12
 Case: 1:21-cv-06546 Document #: 70 Filed: 11/08/22 Page 14 of 14 PageID #:838




DATED this 8th day of November, 2022.

                                  /s/ Theresa H. Wang
                                  Theresa H. Wang (pro hac vice)
                                  Joshua D. Harms (pro hac vice)
                                  Leslie C. Vander Griend (pro hac vice)
                                  STOKES LAWRENCE, P.S.
                                  1420 Fifth Avenue, Suite 3000
                                  Seattle, Washington 98101
                                  Tel: (206) 626-6000
                                  Email: theresa.wang@stokeslaw.com
                                  Email: joshua.harms@stokeslaw.com
                                  Email: leslie.vandergriend@stokeslaw.com

                                  Richard D. Boonstra (No. 6185045)
                                  Todd Postma (No. 6339529)
                                  HOOGENDOORN & TALBOT LLP
                                  122 South Michigan Avenue, Suite 1220
                                  Chicago, Illinois 60603
                                  Tel: (312) 786-2250
                                  Email: rboonstra@htlaw.com
                                  Email: tpostma@htlaw.com

                                  Attorneys for Defendant Vintage Brand, LLC




                                         13
